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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 CBV, INC.,

                 Plaintiff

           v.                                            C.A. No. 1:21-cv-01456-MN

 CHANBOND, LLC,

                 Defendant.


       AMENDED STIPULATION CONCERNING TEMPORARY RESTRAINING
                        ORDER AND INTEREST

        WHEREAS, Plaintiff CBV, Inc. (“CBV”) and Defendant ChanBond, LLC (“ChanBond”)

are parties to this action (collectively, the “Parties”); and

        WHEREAS, non-parties Deirdre Leane and IPNAV, LLC (collectively, “Proposed

Intervenors”) intend to intervene as Defendants in this action; and

        WHEREAS, CBV has filed a motion for a preliminary injunction restraining ChanBond

from distributing the proceeds of ChanBond’s patent litigations referenced in CBV’s Amended

Complaint (the “Complaint”) to the Proposed Intervenors (the “PI Motion”); and

        WHEREAS, CBV has sought a TRO in connection with that motion; and

        WHEREAS, the Parties and Proposed Intervenors have been able to reach an agreement

that moots the need for a TRO or briefing relating to that application;

        NOW, THEREFORE, the Parties and Proposed Intervenors hereby stipulate and agree as

follows:

        1.      ChanBond and its agents will voluntarily refrain from distributing the Settlement

Funds to Proposed Intervenors until CBV’s Motion for Preliminary Injunction is heard and a

decision rendered by the Court;
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        2.      Proposed Intervenors shall not seek to recover post-judgment interest on the

arbitration award in Leane et al. v. Unified Online, Inc. et al., Case No. 01-20-0015-0793 (AAA)

for the period between execution of this stipulation and the preliminary injunction hearing if and

only if: (1) ChanBond pays Proposed Intervenors any amounts due on the award (or such lesser

sum as it is directed to pay over) within five (5) business days of a decision by the Court denying

the relief requested in the PI Motion or by subsequent order of the Court lifting any restraint or

otherwise directing the payment of any sums to Proposed Intervenors; and (2) the Court grants the

preliminary injunction without requiring CBV to post a bond to cover the post-judgment interest

generated by such relief.

        3.      In the event the Court grants the relief sought in the PI Motion and requires CBV

to post a bond in connection therewith, such Court-ordered bond shall be retroactive to the date of

this Stipulation.

        4.      CBV shall contemporaneously herewith withdraw its application for temporary

restraining order, without prejudice and with reservation of all rights with respect thereto.




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BUCHANAN INGERSOLL                       BAYARD, P.A.
    & ROONEY PC

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LLC

Dated March 17, 2022.


                                             IT IS SO ORDEREDWKLVWKGD\RI0DUFK



                                               Thee Hono
                                                    Honorable
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                                                        orable Maryellen Noreika
                                                  United States District Judge




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